          Case 1:18-cv-02213-PKC Document 176 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: BRF S.A. SECURITIES                                                  ORDER
LITIGATION
                                                                        18-cv-2213 (PKC)

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CASTEL, U.S.D.J.

                The settlement hearing of October 23, 2020 at 2 p.m. will be held telephonically.

The dial-in information is as follows:

                Dial-in:                  (888) 363-4749

                Access Code:              3667981

Members of the public may access audio of the proceedings, but will not be permitted to speak

and must mute their phones when calling in.

                SO ORDERED.




Dated: New York, New York
       October 20, 2020
